Case: 24-1504 Document:19 Page:1 Filed: 03/21/2024

2024-1504, 2024-1566

UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

CVB, INC.,
Plaintiff-Appellant

V.

UNITED STATES,
Defendant-Cross-Appellant

BROOKLYN BEDDING, LLC, CORSICANA MATTRESS CO., ELITE
COMFORT SOLUTIONS, FXI, INC., INNOCOR, INC., KOLCRAFT
ENTERPRISES, INC., LEGGETT & PLATT, INC., INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, UNITED STEEL, PAPER AND
FORESTRY, RUBBER, MANUFACTURING, ENERGY, ALLIED
INDUSTRIAL AND SERVICE WORKERS INTERNATIONAL UNION,
AFL-CIO,

Defendants-Appellees

Appeals from the United States Court of International Trade in
No. 1:21-cv-00288-SAV, Judge Stephen Alexander Vaden

MOTION FOR AN EXTENSION OF TIME
FOR CVB, INC. TO FILE PRINCIPAL BRIEF

Geoffrey M. Goodale
Andrew R. Sperl
Lauren E. Wyszomierski
DUANE Morris LLP
901 New York Avenue NW, Suite 700 East
Washington, DC 20001
gmgoodale@duanemorris.com
(202) 776-5211
Dated: March 21, 2024 Counsel to Plaintiff-Appellant CVB, Inc.
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FORM 9. Certificate of Interest Form 9 (p. 1)
March 2023

UNITED STATES COURT OF APPEALS
FOR THE FEDERAL CIRCUIT

CERTIFICATE OF INTEREST

Case Number 2024-1504, 2024-1566
Short Case Caption CVB, Inc. v. US

Filing Party/Entity CVB, Inc.

Instructions:

1. Complete each section of the form and select none or N/A if appropriate.

2. Please enter only one item per box; attach additional pages as needed, and
check the box to indicate such pages are attached.

3. In answering Sections 2 and 38, be specific as to which represented entities
the answers apply; lack of specificity may result in non-compliance.

4. Please do not duplicate entries within Section 5.

5. Counsel must file an amended Certificate of Interest within seven days after
any information on this form changes. Fed. Cir. R. 47.4(c).

I certify the following information and any attached sheets are accurate and
complete to the best of my knowledge.

Date: 03/21/2024 Signature: /s/ Geoffrey M. Goodale

Name: Geoffrey M. Goodale

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Case: 24-1504 Page: 3

FORM 9. Certificate of Interest Form 9 (p. 2)
March 2023
1. Represented 2. Real Party in 3. Parent Corporations
Entities. Interest. and Stockholders.
Fed. Cir. R. 47.4(a)(1). Fed. Cir. R. 47.4(a)(2). Fed. Cir. R. 47.4(a)(8).
Provide the full names of | Provide the full names of | Provide the full names of
all entities represented by | all real parties in interest | all parent corporations for
undersigned counsel in | fortheentities. Donotlist| the entities and _ all
this case. the real parties if they are | publicly held companies
the same as the entities. | that own 10% or more
stock in the entities.
None/Not Applicable | [1 None/Not Applicable
CVB, Inc.
J Additional pages attached

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FORM 9. Certificate of Interest Form 9 (p. 3)
March 2023

4. Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already entered
an appearance in this court. Fed. Cir. R. 47.4(a)(4).

O = None/Not Applicable Additional pages attached

See Attachment A.

5. Related Cases. Other than the originating case(s) for this case, are there
related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

Yes (file separate notice; see below) [CJ No OU N/A (amicus/movant)

If yes, concurrently file a separate Notice of Related Case Information that complies
with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
Notice must only be filed with the first Certificate of Interest or, subsequently, if
information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).

6. Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

None/Not Applicable 0 Additional pages attached

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ATTACHMENT A
Case: 24-1504 Document:19 Page:6 Filed: 03/21/2024

Attachment A to Certificate of Interest
CAFC No. 2024-1504, 2024-1566

The names of all law firms and the partners or associates that appeared for the party or amicus now
represented by me in the trial court or agency or are expected to appear in this court are:

Appearing before this Court: Duane Morris LLP
Geoffrey M. Goodale, Partner
Andrew R. Sperl, Partner
Lauren E. Wyszomierski, Associate
Taylor J. Hertzler, Associate

Before trial court or agency: Duane Morris LLP
Geoffrey M. Goodale, Brian H. Pandya,
Andrew R. Sperl, Ryan M. Eletto, Nathan J.
Heeter, and Lauren E. Wyszomierski

Larson LLP
Stephen G. Larson, Robert C. O’Brien, and
Paul A. Rigali
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Pursuant to Federal Rule of Appellate Procedure 26(b) and Federal Circuit
Rule 26(b), Plaintiff-Appellant CVB, Inc. (“CVB”) respectfully moves for an
extension of 60 days to file its opening brief, which would make the brief due on
Friday, June 21, 2024. In accordance with the order issued by this Court
consolidating appeals 2024-1504 and 2024-1566 on March 20, 2024 (ECF 16) (the
“Order’”), the current deadline for CVB to file its principal brief is April 22, 2024.
This is CVB’s first extension request. Counsel for Defendant-Cross-Appellant the
United States (the “U.S. International Trade Commission” or the ““Commission’’) has
consented to the proposed 60-day extension. Counsel for Defendants-Appellees
Brooklyn Bedding, LLC, Corsicana Mattress Co., Elite Comfort Solutions, FX],
Inc., Innocor, Inc., Kolcraft Enterprises, Inc., Leggett & Platt, Inc., International
Brotherhood of Teamsters, and the United Steel, Paper and Forestry, Rubber,
Manufacturing, Energy, Allied Industrial and Service Workers International Union,
AFL-CIO (the “Mattress Petitioners”) has consented to a two-week extension, but
opposes any extension longer than two weeks. As discussed below, however, good
cause exists to grant the full 60-day extension as requested by Plaintiff-Appellant
and as consented to by the Commission.

From now until early June, counsel for CVB anticipates that they will be
occupied by an unusually high volume of court and administrative agency filings on

behalf of their clients, including CVB itself. This work includes extensive pre-
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hearing, hearing, and post-hearing matters on behalf of CVB relating to the most
recent agency-level proceeding at the Commission involving mattresses, Mattresses
from Bosnia and Herzegovina, Bulgaria, Burma, India, Indonesia, Italy, Kosovo,
Mexico, Philippines, Poland, Slovenia, Spain, and Taiwan, Investigation Nos. 701-
TA-693 and 731-TA-1629-1640 (“Mattresses IIT’).

Specifically, the scheduling order in Mattresses II] was published by the
Commission on March 6, 2024. Subsequently, CVB requested that the undersigned
counsel enter an appearance before the Commission on their behalf in Mattresses
III, and the undersigned counsel entered their appearance for CVB before the
Commission on March 13, 2024. The undersigned counsel were, therefore, only
recently engaged by CVB for their upcoming work in the Mattresses III proceeding.

CVB’s questionnaire responses in the Mattresses III ITC proceeding are
currently due on April 4, 2024. Subsequently, the undersigned counsel will need to
review and analyze questionnaire responses that are expected to be submitted by
many other entities in early April and the Commission’s pre-hearing staff report that
also will be released in April in order to prepare CVB’s pre-hearing brief that is due
on May 3, 2024. The undersigned counsel will then need to assist CVB personnel in
preparing for and participating in the Commission’s hearing that is scheduled for
May 9, 2024. Following the hearing, CVB’s post-hearing brief is due on May 16,

2024. On June 4, 2024, the Commission will make available to parties all
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information on which they have not had an opportunity to comment, and CVB’s final
comments on this information are due on June 6, 2024. Based on prior experience in
previous ITC proceedings, we anticipate that the pre- and post-hearing briefing,
including the comments due in early June, will be lengthy and substantive, requiring
a significant investment of time from CVB’s counsel.

In addition to the obligations discussed above, counsel also will be busy with
anticipated filings in unrelated matters. In particular, Andrew R. Sperl anticipates
preparing and filing substantial post-trial briefs in the Delaware Court of Chancery
in April and May in connection with a trial that concluded earlier this month. All of
this requires a significant investment of time by counsel over the next two months.

CVB believes that the requested extension will not impose a hardship on any
other party. As noted above, via e-mail on March 18, 2024, counsel for the Mattress
Petitioners, Yohai Baisburd, indicated that the Mattress Petitioners would oppose
any extension of longer than two weeks. However, as also discussed above, via e-
mail on March 15, 2024, counsel for the Commission, Jane C. Dempsey, indicated
the Commission’s consent to the full 60-day extension requested in this motion.
Counsel for both Mattress Petitioners and the Commission confirmed their positions
regarding this motion via e-mail on March 21, 2024, after the Order was issued by

this Court on March 20, 2024.
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For the forgoing reasons, CVB respectfully requests that this Court grant this
motion for an extension of 60 days so that its principal brief is due on June 21, 2024.
Respectfully submitted,

/s/ Geoffrey M. Goodale

Geoffrey M. Goodale

Andrew R. Sper!

Lauren E. Wyszomierski
DUANE Morris LLP

901 New York Avenue, NW
Suite 700 East

Washington, DC 20001
gmgoodale@duanemorris.com
(202) 776-5211

Dated: March 21, 2024 Counsel to Plaintiff-Appellant CVB, Inc.
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DECLARATION
I, Geoffrey M. Goodale, state and declare as follows:
f. I am a partner at Duane Morris LLP and I am principally responsible
for representing Plaintiff-Appellant CVB, Inc. (““CVB”) in this appeal.
2. The current deadline for CVB to file its brief is April 22, 2024.
3. I submit this declaration, pursuant to Fed. Cir. R. 26(b)(3), in support
of our request for an extension of 60 days to file CVB’s principal brief.
4, The requested extension of 60 days would extend the due date for CVB
to file its principal brief up to and including June 21, 2024.
3: Defendant-Cross-Appellant the United States has consented to the
requested 60-day extension.
6.  Defendants-Appellees Brooklyn Bedding, LLC, Corsicana Mattress
Co., Elite Comfort Solutions, FXI, Inc., Innocor, Inc., Kolcraft Enterprises,
Inc., Leggett & Platt, Inc., International Brotherhood of Teamsters, and the
United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied
Industrial and Service Workers International Union, AFL-CIO, have
consented to a two-week extension, but oppose a longer extension.
7. The additional time is necessary to account for the obligations in the
work schedule of the counsel referenced in this motion (the “CVB Counsel”),

which include the following:
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a. Participation in the U.S. International Trade Commission
(“ITC”) final phase investigation into Mattresses from Bosnia and
Herzegovina, Bulgaria, Burma, India, Indonesia, Italy, Kosovo,
Mexico, Philippines, Poland, Slovenia, Spain, and Taiwan,
Investigation Nos. 701-TA-693 and 731-TA-1629-1640.

b. Specifically, CVB’s final phase questionnaire responses are due
on April 4, 2024. Subsequently, CVB Counsel will need to review and
analyze questionnaire responses that are expected to be submitted by
many other entities in early April and the Commission’s pre-hearing
staff report that also will be released in April in order to prepare CVB’s
pre-hearing brief that is due on May 3, 2024. CVB Counsel will then
need to assist CVB personnel in preparing for and participating in the
Commission’s hearing that is scheduled for May 9, 2024. CVB’s post-
hearing brief will then be due May 16, 2024. On June 6, 2024, CVB’s
comments are due on all information on which they have not had an
opportunity to comment. Based on prior experience in previous ITC
proceedings, the pre- and post-hearing briefing, including the
comments due in early June, will be lengthy and substantive, requiring

a significant investment of time from CVB Counsel.
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G; Significant post-trial briefing by CVB Counsel Andrew Sperl in
an unrelated matter, as described above in the motion.

8. I declare under penalty of perjury that the foregoing is true and correct.

/s/ Geoffrey M. Goodale
Geoffrey M. Goodale

DUANE Morris LLP

901 New York Avenue, NW
Suite 700 East

Washington, DC 20001
gmgoodale@duanemorris.com
(202) 776-5211

Dated: March 21, 2024 Counsel to Plaintiff-Appellant CVB, Inc.
Case: 24-1504 Document:19 Page:14 Filed: 03/21/2024

FORM 19. Certificate of Compliance with Type-Volume Limitations Form 19
July 2020

UNITED STATES COURT OF APPEALS
FOR THE FEDERAL CIRCUIT

CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

Case Number: 2024-1504, 2024-1566
Short Case Caption: CVB, Inc. v. US

Instructions: When computing a word, line, or page count, you may exclude any
items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

the filing has been prepared using a proportionally-spaced typeface
and includes 1,145 words.

CT] the filing has been prepared using a monospaced typeface and includes
lines of text.

CT the filing contains pages / words /
lines of text, which does not exceed the maximum authorized by this
court’s order (ECF No. >
Date: 03/21/2024 Signature: /8/ Geoffrey M. Goodale

Name: Geoffrey M. Goodale

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